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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

U ITED STATES OF AMERICA                       §
                                               §
v.                                             § NO. 6-.18-CR-48
                                               § Judge Schroeder/Love
JORGE FERNANDO MERCADO                         §
                                      FACTUAL BASIS

        Investigation by the United States Fish and Wildlife Service, Criminal

Investigation Division, and Texas Parks and Wildlife, Game Warden Division, disclosed

the following facts that establish that I, the Defendant, Jorge Fernando Mercado, violated

16 U.S.C. §§ 703 and 707(a) (Violation of the Migratory Bird Treaty Act). I accept the

following factual basis as true and correct:

        1. On September 30, 2017 in Van Zandt County, Texas, Jor e Fernando

                Mercado, knowingly possessed, and then sold, a live Eastern Screech-Owl

                (Megascops asio) to another individual for $3fHb00.

        2. The above referenced bird species is a migratory bird as that term is

                defined in 50 C.F.R. Section 10.11 etseq. and 16 U.S.C. Section 715(j) in

                that is are among the species listed in 50 C.F.R. 10.13, which lists the

                migratory birds included in the terms of the conventions between the

                United States and Great Britain, Mexico, Japan, and Russia.

        3. Jor e Fernando Mercado knowingly possessed and sold the above-

                referenced Eastern Screech-Owl without a valid permit or authorization.




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    4. The defendant, Jorge Fernando Merc do, acknowledges that these facts

        constitute a violation of 16 U.S.C. §§ 703 and 707(a) (Violation of the Migratory

        Bird Treaty Act). He hereby stipulates that the facts described above are true and

        correct and accepts them as the uncontroverted facts of this case.




Dated: l f-         [>                                                  G5£_
                                                  JORGE FERNANDO eRCADO
                                                  Defendant




                Defendant's Counsel's Signature and Acknowledgment:

        I have read this Factual Basis and the Plea Agreement in this matter and have

reviewed them with my client, Jor e Fernando Mercado. Based upon my discussions

with my client, I am satisfied that he understands the terms and effects of the Factual

Basis and the Plea Agreement and that he is signing this Factual Basis voluntarily.




Dated: 1 U-Z? \&

                                                  Attorney for Defendant




Factual Basis
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